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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
---------------------------------------------------------------------X
PENNSYLVANIA MANUFACTURERS’
ASSOCIATION INSURANCE COMPANY
and PENNSYLVANIA MANUFACTURERS
INDEMNITY COMPANY,
                                                                         Docket No.:
                                   Plaintiffs,
                                                                         COMPLAINT
        -against-

NATIONAL HEALTH CARE ASSOCIATES, INC.
and NATIONAL FIRE & MARINE INSURANCE
COMPANY,

                                    Defendants.
---------------------------------------------------------------------X

        Plaintiffs PENNSYLVANIA MANUFACTURERS’ ASSOCIATION INSURANCE

COMPANY and PENNSYLVANIA MANUFACTURERS INDEMNITY COMPANY, by and

through their attorneys, MILBER MAKRIS PLOUSADIS & SEIDEN, LLP, as and for a

Complaint, alleges, upon information and belief, as follows:

                                       NATURE OF THE ACTION

        1.       In     this     action,     Plaintiffs     PENNSYLVANIA       MANUFACTURERS’

ASSOCIATION INSURANCE COMPANY and PENNSYLVANIA MANUFACTURERS

INDEMNITY COMPANY (hereinafter referred to as “PMAIC” and “PMIC,” respectively and

collectively as the “Plaintiffs”) seek a declaration that they are not obligated to defend and

indemnify Defendant NATIONAL HEALTH CARE ASSOCIATES, INC. (“NATIONAL

HEALTH CARE”) in the underlying lawsuit of Raquel Charles, Administrator of the Estate of

Elissbeth Donai v. Riverside Health Care Center, et. al., which is presently pending in the Superior

Court of Connecticut, Judicial District of Hartford (the “Charles Lawsuit”).
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                                          THE PARTIES

       2.        That at all times hereinafter mentioned, Plaintiff PMAIC was and is a Pennsylvania

corporation with a principal place of business in Blue Bell, Pennsylvania.

       3.        That at all times hereinafter mentioned, Plaintiff PMIC was and is a Pennsylvania

corporation with a principal place of business in Blue Bell, Pennsylvania.

       4.        That at all times hereinafter mentioned, Defendant NATIONAL HEALTH CARE

was and still is a Connecticut corporation with its principal place of business in Valley Stream,

New York.

       5.        That at all times hereinafter mentioned, Defendant NATIONAL FIRE & MARINE

INSURANCE COMPANY (“NFMIC”) was and still is an insurance company with its principal

place of business in Omaha, Nebraska.

                                 JURISDICTION AND VENUE

       6.        This Court has jurisdiction over this action under 28 U.S.C. § 1332(a)(1) because

it involves citizens of different states and an amount in controversy exceeding the sum of

$75,000.00, exclusive of interest and costs.

       7.        Venue of this action in the United States District Court for the District of

Connecticut is proper under 28 U.S.C. § 1391(b) in that it is the District where Defendant is

incorporated and where a substantial part of the events giving rise to this action occurred.

                                 THE INSURANCE POLICIES

       8.        Plaintiff PMAIC issued a Workers Compensation and Employers Liability

Insurance Policy to Defendant NATIONAL HEALTH CARE, bearing policy number 201900-06-

86-24-6B, for the policy period of November 1, 2019 to November 1, 2020 (the “National Health

Care Policy”).




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9.       That the National Health Care Policy provides:

         WORKERS     COMPENSATION                   AND       EMPLOYERS
         LIABILITY INSURANCE POLICY

                                          ***

         GENERAL SECTION

         A.     The Policy

         This policy includes at its effective date the Information Page and
         all endorsements and schedules listed there. It is a contract of
         insurance between you (the employer named in Item 1 of the
         Information Page) and us (the insurer named on the Information
         Page). The only agreements relating to this insurance are stated in
         this policy. The terms of this policy may not be changed or waived
         except by endorsement issued by us to be part of this policy.

         B.     Who is Insured

         You are insured if you are an employer named in Item 1 of the
         Information Page. If that employer is a partnership, and if you are
         one of its partners, you are insured, but only in your capacity as an
         employer of the partnerships employees.

10.      That the National Health Care Policy further provides for the following coverage:

                             PART TWO
                    EMPLOYERS LIABILITY INSURANCE

         A.     How This Insurance Applies

         This employers liability insurance applies to bodily injury by
         accident or bodily injury by disease. Bodily injury includes resulting
         death.

         1.     The bodily injury must arise out of and in the course of the
                injured employees employment by you.
         2.     The employment must be necessary or incidental to your
                work in a state or territory listed in Item 3.A. of the
                Information Page.
         3.     Bodily injury by accident must occur during the policy
                period.
         4.     Bodily injury by disease must be caused or aggravated by
                the conditions of your employment. The employees last day



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                       of last exposure to the conditions causing or aggravating
                       such bodily injury by disease must occur during the policy
                       period.
              5.       If you are sued, the original suit and any related legal actions
                       for damages for bodily injury by accident or by disease must
                       be brought in the United States of America, its territories or
                       possessions or Canada.

              B.       We Will Pay

              We will pay all sums that you legally must pay as damages because
              of bodily injury to your employees, provided the bodily injury is
              covered by this Employers Liability Insurance.

                                                ***

              D.       We Will Defend

              We have the right and duty to defend, at our expense, any claim,
              proceeding or suit against you for damages payable by this
              insurance. We have the right to investigate and settle these claims,
              proceedings and suits.

              We have no duty to defend a claim, proceeding or suit that is not
              covered by this insurance. We have no duty to defend or continue
              defending after we have paid our applicable limit of liability under
              this insurance.

       11.    That Plaintiff PMIC issued a Workers Compensation and Employers Liability

Insurance Policy to non-party Riverside Health and Rehabilitation Center, bearing policy number

201900-06-86-25-3, for the policy period of November 1, 2019 to November 1, 2020 (the

“Riverside Policy”).

       12.    That the Riverside Policy provides:

              WORKERS     COMPENSATION                     AND        EMPLOYERS
              LIABILITY INSURANCE POLICY

                                                ***




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      GENERAL SECTION

      A.     The Policy

      This policy includes at its effective date the Information Page and
      all endorsements and schedules listed there. It is a contract of
      insurance between you (the employer named in Item 1 of the
      Information Page) and us (the insurer named on the Information
      Page). The only agreements relating to this insurance are stated in
      this policy. The terms of this policy may not be changed or waived
      except by endorsement issued by us to be part of this policy.

      B.     Who is Insured

      You are insured if you are an employer named in Item 1 of the
      Information Page. If that employer is a partnership, and if you are
      one of its partners, you are insured, but only in your capacity as an
      employer of the partnerships employees.

13.   That the Riverside Policy further provides for the following coverage:

                          PART TWO
                 EMPLOYERS LIABILITY INSURANCE

      A.     How This Insurance Applies

      This employers liability insurance applies to bodily injury by
      accident or bodily injury by disease. Bodily injury includes resulting
      death.

      1.     The bodily injury must arise out of and in the course of the
             injured employees employment by you.
      2.     The employment must be necessary or incidental to your
             work in a state or territory listed in Item 3.A. of the
             Information Page.
      3.     Bodily injury by accident must occur during the policy
             period.
      4.     Bodily injury by disease must be caused or aggravated by
             the conditions of your employment. The employees last day
             of last exposure to the conditions causing or aggravating
             such bodily injury by disease must occur during the policy
             period.
      5.     If you are sued, the original suit and any related legal actions
             for damages for bodily injury by accident or by disease must
             be brought in the United States of America, its territories or
             possessions or Canada.



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              B.     We Will Pay

              We will pay all sums that you legally must pay as damages because
              of bodily injury to your employees, provided the bodily injury is
              covered by this Employers Liability Insurance.

                                              ***

              D.     We Will Defend

              We have the right and duty to defend, at our expense, any claim,
              proceeding or suit against you for damages payable by this
              insurance. We have the right to investigate and settle these claims,
              proceedings and suits.

              We have no duty to defend a claim, proceeding or suit that is not
              covered by this insurance. We have no duty to defend or continue
              defending after we have paid our applicable limit of liability under
              this insurance.

       14.    That upon information and belief, NFMIC issued a claims made general liability

policy, bearing number NSC100602, for the policy period of January 1, 2020 to January 1, 2021

(the “NFMIC Policy”).

       15.    That upon information and belief NATIONAL HEALTH CARE qualifies as an

insured under the NFMIC Policy.

       16.    That upon information and belief the NFMIC Policy also provides professional

liability coverage to, inter alia, NATIONAL HEALTH CARE.

       17.    That upon information and belief the professional liability insuring agreement to

the NFMIC Policy provides for the following coverage:

              A.     PROFESSIONAL LIABILITY

                     1.     Claims-Made and Reported:
                     If “Claims-Made and Reported” is shown on the
                     Declarations with respect to this Coverage Part, the
                     following provisions apply:
                     a.     The company will pay on behalf of any insured all
                            loss and claims expense, subject to any applicable



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                            Deductible or Self-Insured Retention, and up to the
                            Limits of Liability shown on the Declarations with
                            respect to this Coverage Part, arising from a health
                            care event that took place on or after the applicable
                            Retroactive Date shown on the Declarations.
                            Moreover, to be covered under this policy, the loss
                            or claims expense must arise from:
                            (1)     a claim that was first made against, and
                                    received by, an insured during the policy
                                    period, and reported to the company, in
                                    writing, during the policy period or within
                                    any applicable extended reporting period;
                                    or
                            (2)     a potential claim that was first known about
                                    or discovered by an insured during the
                                    policy period, and reported to the company,
                                    in writing, during the policy period or within
                                    the automatic limited extended reporting
                                    period.
                     b.     All claims and potential claims for damages arising
                            out of, or in connection with the same health care
                            event will be deemed to have been first made on the
                            date that the first of those claims is made against any
                            insured, or the date the first

       18.    That upon information and belief, the general liability insuring agreement to the

NFMIC Policy provided for the following coverage:

              A.     BODILY INJURY           AND      PROPERTY         DAMAGE
                     LIABILITY

                     1.     Claims-Made and Reported
                     If “Claims-Made and Reported” is shown on the
                     Declarations with respect to this Coverage Part, the
                     following provisions apply:
                     a.     The company will pay on behalf of any insured all
                            loss and claims expense, subject to any applicable
                            Deductible or Self-Insured Retention, and up to the
                            Limits of Liability shown on the Declarations with
                            respect to this Insuring Clause, arising from an event
                            resulting in bodily injury or property damage that
                            took place on or after the applicable retroactive date
                            shown on the Declarations. Moreover, to be covered
                            under this policy, the loss or claims expense must
                            arise from:



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                           (1)      a claim that was first made against, and
                                    received by, an insured during the policy
                                    period, and reported to the company, in
                                    writing, during the policy period or within
                                    any applicable extended reporting period;
                                    or
                           (2)      a potential claim that was first known about
                                    or discovered by an insured during the
                                    policy period, and reported to the company,
                                    in writing, during the policy period or within
                                    the automatic limited extended reporting
                                    period.
                    b.     All claims and potential claims for damages arising
                           out of, or in connection with, bodily injury to the
                           same person, including damages claimed by any
                           person or organization for care, loss of services, or
                           death resulting at any time from bodily injury, will
                           be deemed to have been first made on the date that
                           the first of those claims is made against any insured,
                           or the date the first of such potential claims is
                           discovered by an authorized insured, whichever
                           date is earlier…

      19.    That upon information and belief, NFMIC issued a claims made excess policy of

insurance, bearing policy number ENSC100602, for the policy period of January 1, 2020 to

January 1, 2021 (the “NFMIC Excess Policy”).

      20.    That upon information and belief, NATIONAL HEALTH CARE qualifies as an

insured under the NFMIC Excess Policy.

      21.    That upon information and belief, the NFMIC Excess Policy follows the form of

the NFMIC Policy.

                                 THE CHARLES LAWSUIT

      22.    That the Charles Lawsuit was commenced on or about May 31, 2021 with the filing

of a Summons and Complaint, a copy of which is annexed hereto as Exhibit “A.”




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      23.     That the Complaint to the Charles Lawsuit (the “Charles Complaint”) alleges that

at all relevant times, Elissabeth Donai (“Donai”) was “employed as a Certified Nursing Aide

(CNA) by Riverside Health Care Center, Inc.” Id. at ¶3.

      24.     That the Charles Complaint alleges that “[a]t all times pertinent hereto, Riverside

Health Care Center, Inc. employed [Donai] when they intentionally created and exposed her to a

dangerous workplace condition involving exposure to the COVID-19 virus which would make

[Donai]’s injuries substantially certain to occur and are therefore liable for her death.” Id. at ¶6.

      25.     That the Charles Complaint further alleges that on or about April 17, 2020, Donai

was admitted to Manchester Memorial Hospital after “unknowingly caring for COVID-19

patients in unprotected fashion at Riverside Health Care Center, Inc.” Id. at ¶9.

      26.     That the Charles Complaint alleges that on April 27, 2021, Donai “expired due to

respiratory failure secondary to COVID-19.” Id. at ¶15.

      27.     That the Charles Complaint asserts a single cause of action against Riverside for

wrongful death and a separate, single cause of action against Defendant NATIONAL HEALTH

CARE for wrongful death.

      28.     That Plaintiff PMAIC has denied any obligation to provide Defendant NATIONAL

HEALTH CARE with insurance coverage under the National Health Care Policy with respect to

the Charles Lawsuit.

      29.     That Plaintiff PMIC has denied any obligation to provide Defendant NATIONAL

HEALTH CARE with insurance coverage under the Riverside Policy with respect to the Charles

Lawsuit.

      30.     That Plaintiff PMAIC has agreed to provide Defendant NATIONAL HEALTH

CARE with a courtesy defense in the Charles Lawsuit, under a complete reservation of rights.




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       31.     That Plaintiffs have now commenced this litigation for a declaration that they have

no obligation to provide Defendant NATIONAL HEALTH CARE with a defense and/or

indemnification in the Charles Lawsuit under their respective policies.

                  AS AND FOR A FIRST CAUSE OF ACTION
         (NO COVERAGE UNDER THE NATIONAL HEALTH CARE POLICY)

       32.     Plaintiffs repeat and reiterate each and every allegation contained in paragraphs “1”

through “31” as if set forth more fully at length herein.

       33.     That the National Health Care Policy provides coverage for “bodily injury”, which

includes “resulting death”, that “arise[s] out of and in the course of the injured employees

employment by you.”

       34.     That the National Health Care Policy defines “you” as “the employer named in Item

1 of the Information Page.”

       35.     That item 1 of the Information Page to the National Health Care Policy provides:

                       ITEM 1. NAMED INSURED AND MAILING ADDRESS
                       NATIONAL HEALTHCARE ASSOCIATES
                       20 EAST SUNRISE HIGHWAY 2ND FL
                       VALLEY STREAM NY 11581

       36.     That the Charles Complaint alleges that Donai was “employed” by Riverside.

       37.     That the Charles Complaint does not allege that Donai was an employee of

Defendant NATIONAL HEALTH CARE.

       38.     That since the Charles Complaint fails to allege that Donai was employed by

Defendant NATIONAL HEALTH CARE at the time of her bodily injury, there is no coverage

afforded to Defendant NATIONAL HEALTH CARE under the National Health Care Policy.




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        39.    That Plaintiffs are entitled a declaration from this Court that PMAIC is not

obligated to defend and/or indemnify Defendant NATIONAL HEALTH CARE in the Charles

Lawsuit.

        40.    That an actual and justiciable controversy exists between the parties as to coverage

afforded under the National Health Care Policy.

        41.    That Plaintiffs have no adequate remedy at law.

                      AS AND FOR A SECOND CAUSE OF ACTION
                   (NO COVERAGE UNDER THE RIVERSIDE POLICY)

        42.    Plaintiffs repeat and reiterate each and every allegation contained in paragraphs “1”

through “41” as if set forth more fully at length herein.

        43.    That the Riverside Policy provides coverage for “bodily injury”, which includes

“resulting death”, that “arise[s] out of and in the course of the injured employees employment by

you.”

        44.    That the Riverside Policy defines “you” as “the employer named in Item 1 of the

Information Page.”

        45.    That item 1 of the Information Page to the Riverside Policy provides:

                       ITEM 1. NAMED INSURED AND MAILING ADDRESS
                       RIVERSIDE HEALTH AND REHABILITATION CENTER
                       745 MAIN ST
                       EAST HARTFORD CT 06108-3115

        46.    That the Riverside Policy does not identify Defendant NATIONAL HEALTH

CARE as an insured or additional insured under its policy.

        47.    That the Riverside Policy does not afford Defendant NATIONAL HEALTH CARE

with insurance coverage.




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       48.     That Plaintiffs are entitled a declaration from this Court that PMIC has no

obligation to defend and/or indemnify Defendant NATIONAL HEALTH CARE in the Charles

Lawsuit.

       49.     That an actual and justiciable controversy exists between the parties as to coverage

afforded under the Riverside Policy.

       50.     That Plaintiffs have no adequate remedy at law.

                AS AND FOR A THIRD CAUSE OF ACTION
 (RELIEVING PLAINTIFF PMAIC FROM DEFENDING THE CHARLES LAWSUIT)

       51.     Plaintiffs repeat and reiterate each and every allegation contained in paragraphs “1”

through “50” as if set forth more fully at length herein.

       52.     That Defendant NATIONAL HEALTH CARE does not qualify for coverage under

the National Health Care Policy.

       53.     That Defendant NATIONAL HEALTH CARE does not qualify for coverage under

the Riverside Policy.

       54.     That as a result, Plaintiff PMAIC has no obligation to provide Defendant

NATIONAL HEALTH CARE with a defense in the Charles Lawsuit.

       55.     That as a result, Plaintiff PMIC has no obligation to provide Defendant

NATIONAL HEALTH CARE with a defense in the Charles Lawsuit.

       56.     That Plaintiffs are entitled to a declaration relieving Plaintiff PMAIC from

providing Defendant NATIONAL HEALTH CARE with a defense in the Charles Lawsuit.

       57.     That an actual and justiciable controversy exists between the parties as to coverage

afforded under the National Health Care Policy.

       58.     That Plaintiffs have no adequate remedy at law.




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                  AS AND FOR A FOURTH CAUSE OF ACTION
             (DECLARING THAT DEFENDANT NFMIC IS OBLIGATED
           TO PROVIDE DEFENDANT NATIONAL HEALTH CARE WITH A
          DEFENSE AND INDEMNIFICATION IN THE CHARLES LAWSUIT)

       59.     Plaintiffs repeat and reiterate each and every allegation contained in paragraphs “1”

through “58” as if set forth more fully at length herein.

       60.     That notice of the Charles Lawsuit was timely and properly provided to Defendant

NFMIC.

       61.     That in said notice a demand was made that NFMIC provide Defendant

NATIONAL HEALTH CARE with a defense and indemnity in the Charles Lawsuit.

       62.     That Defendant NFMIC has denied any obligation to provide a defense and

indemnification to Defendant NATIONAL HEALTH CARE under the NFMIC Policy or the

NFMIC Excess Policy (collectively, the “NFMIC Policies”) and has otherwise failed to perform

or acknowledge its obligation as insurer to Defendant NATIONAL HEALTH CARE thereby being

obligated to defend and indemnify Defendant NATIONAL HEALTH CARE from and against the

claims asserted in the Charles Lawsuit.

       63.     That the coverage which Defendant NFMIC is obligated to provide applies to each

and every aspect of the claims asserted in the Complaint to the Charles Lawsuit.

       64.     That as an insured to the NFMIC Policies, Defendant NATIONAL HEALTH

CARE is entitled to a defense from Defendant NFMIC of the allegations contained in the

Complaint in the Charles Lawsuit.

       65.     That as an insured on the NFMIC Policies, Defendant NATIONAL HEALTH

CARE is entitled to complete indemnification from Defendant NFMIC of the allegations contained

in the Complaint in the Charles Lawsuit.




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       66.     That by virtue of the underlying allegations of Complaint in the Charles Lawsuit,

the coverage and defense obligations owed to Defendant NATIONAL HEALTH CARE were

triggered, and Defendant NFMIC owes Defendant NATIONAL HEALTH CARE a defense and

indemnity.

       67.     That the failure of Defendant NFMIC to defend and indemnify Defendant

NATIONAL HEALTH CARE in the Charles Lawsuit constitutes a breach of its obligations to

Defendant NATIONAL HEALTH CARE who are entitled to insurance under the NFMIC Policies.

       68.     That as a result of Defendant NFMIC’s breach of its contractual obligations to

Defendant NATIONAL HEALTH CARE, Plaintiffs have been harmed in that Plaintiff PMAIC

has been forced to provide Defendant NATIONAL HEALTH CARE with a defense in the Charles

Lawsuit.

       69.     Defendant NFMIC is in breach of the express terms and conditions of the NFMIC

Policies and its obligations to Defendant NATIONAL HEALTH CARE under its insurance

contracts.

       70.     That as a result of the foregoing, Defendant NATIONAL HEALTH CARE is

entitled to defense and indemnification, including indemnification for all expenses, damages and

any verdict or settlement in the Charles Lawsuit which may arise from the prosecution of same.

       71.     That a real, actual and justiciable controversy exists between Plaintiffs and

Defendant NFMIC herein.

       72.     Plaintiffs have no adequate remedy at law.




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                  AS AND FOR A FIFTH CAUSE OF ACTION
              (DECLARING THAT PLAINTIFFS ARE ENTITLED TO
         REIMBURSEMENT OF ATTORNEYS FEES AND EXPENSES IN THE
        DEFENSE OF THE CHARLES LAWSUIT FROM DEFENDANT NFMIC)

       73.     Plaintiffs repeat and reiterate each and every allegation contained in paragraphs “1”

through “72” as if set forth more fully at length herein.

       74.     That notice of the Charles Lawsuit was timely and properly provided to Defendant

NFMIC.

       75.     That in said notice a demand was made that NFMIC provide Defendant

NATIONAL HEALTH CARE with a defense and indemnity in the Charles Lawsuit.

       76.     That Defendant NFMIC has wrongfully denied any obligation to provide Defendant

NATIONAL HEALTH CARE with insurance coverage under the NFMIC Policies.

       77.     That as a result of Defendant NFMIC’s refusal to provide Defendant NATIONAL

HEALTH CARE with a coverage in the Charles Lawsuit, in breach of its policy obligations to

Defendant NATIONAL HEALTH CARE, Plaintiff PMAIC has incurred, and continues to incur,

attorneys’ fees and expenses in defending Defendant NATIONAL HEALTH CARE in the Charles

Lawsuit.

       78.     That as a result of Defendant NFMIC’s breach of its policy obligations, Plaintiff

PMAIC has suffered and continues to suffer damages as a result thereof.

       79.     Defendant NFMIC’s failure to satisfy its obligations under the NFMIC policies and

afford Defendant NATIONAL HEALTH CARE with insurance coverage in the Charles Lawsuit

has resulted in, and continues to result in, damages to Plaintiff PMAIC, including but not limited

to the cost of defending the Charles Lawsuit.




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       80.     Plaintiffs are entitled to judgment declaring that Defendant NFMIC is obligated to

defend Defendant NATIONAL HEALTH CARE in the Charles Lawsuit, pursuant to the terms of

the NFMIC Policies.

       81.     Based upon the foregoing, Plaintiffs are entitled to an order declaring that

Defendant NFMIC must reimburse Plaintiff PMAIC for all past and future defense costs and

attorneys’ fees expended in the defense of Defendant NATIONAL HEALTH CARE in the Charles

Lawsuit, as well as damages, verdicts, judgments, costs, fees, penalties and/or expenses of any

kind that Plaintiffs may incur or become legally obligated to pay as a result of the Charles Lawsuit.

       82.     That an actual and justiciable controversy exists between the parties as to coverage

afforded under the NFMIC Policies.

       83.     That Plaintiffs have no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs PENNSYLVANIA MANUFACTURERS’ ASSOCIATION

INSURANCE COMPANY and PENNSYLVANIA MANUFACTURERS INDEMNITY

COMPANY, prays that judgment be entered as follows:

               a.      Declaring that the National Health Care Policy issued by Plaintiff
                       PENNSYLVANIA MANUFACTURERS’ ASSOCIATION INSURANCE
                       COMPANY to Defendant NATIONAL HEALTH CARE ASSOCIATES,
                       INC. does not afford Defendant NATIONAL HEALTH CARE
                       ASSOCIATES, INC. coverage for the Charles Lawsuit;

               b.      Declaring that the Riverside Policy issued by Plaintiff PENNSYLVANIA
                       MANUFACTURERS INDEMNITY COMPANY to non-party Riverside
                       Health and Rehabilitation Center does not afford Defendant NATIONAL
                       HEALTH CARE ASSOCIATES, INC. coverage for the Charles Lawsuit;

               c.      Declaring that Plaintiff PENNSYLVANIA MANUFACTURERS’
                       ASSOCIATION INSURANCE COMPANY is not obligated to defend and
                       indemnify Defendant NATIONAL HEALTH CARE ASSOCIATES, INC.
                       in the Charles Lawsuit;




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            d.    Declaring that Plaintiff PENNSYLVANIA MANUFACTURERS
                  INDEMNITY COMPANY is not obligated to defend and indemnify
                  Defendant NATIONAL HEALTH CARE ASSOCIATES, INC. in the
                  Charles Lawsuit; and

            e.    Declaring that Plaintiff PENNSYLVANIA MANUFACTURERS’
                  ASSOCIATION INSURANCE COMPANY can be relieved from
                  providing Defendant NATIONAL HEALTH CARE ASSOCIATES, INC.
                  with a defense in the Charles Lawsuit;

            f.    Declaring that Defendant NATIONAL FIRE & MARINE INSURANCE
                  COMPANY is obligated to provide Defendant NATIONAL HEALTH
                  CARE ASSOCIATES, INC. with a defense and indemnification in the
                  Charles Lawsuit;

            g.    Declaring that Defendant NATIONAL FIRE & MARINE INSURANCE
                  COMPANY is obligated to reimburse Plaintiff PENNSYLVANIA
                  MANUFACTURERS’ ASSOCIATION INSURANCE COMPANY for all
                  attorneys’ fees and expenses incurred in the defense of Defendant
                  NATIONAL HEALTH CARE ASSOCIATES, INC. in the Charles
                  Lawsuit; and

            h.    For such other and further relief as this Court may deem just and proper.

Dated: Woodbury, New York
       July 12, 2022

                                                MILBER MAKRIS PLOUSADIS
                                                & SEIDEN, LLP


                                                BY:________________________________
                                                     ANDREW F. PISANELLI - AP8176
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